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             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 THE SCO GROUP, INC., a Delaware
 corporation,
         Plaintiff and Counterclaim Defendant,             MEMORANDUM DECISION AND
                                                           ORDER GRANTING IN PART AND
                                                           DENYING IN PART NOVELL’S
                                                           MOTION FOR SUMMARY
                                                           JUDGMENT ON SCO’S FIRST
                                                           CLAIM FOR SLANDER OF TITLE
                                                           BASED ON FAILURE TO
                                                           ESTABLISH SPECIAL DAMAGES


                 vs.


 NOVELL, INC., a Delaware corporation,                     Case No. 2:04-CV-139 TS
         Defendant and Counterclaim Plaintiff.




        This matter is before the Court on Novell’s Motion for Summary Judgment on SCO’s

First Claim for Slander of Title Based on Failure to Establish Special Damages. In this Motion,

Defendant seeks summary judgment on Plaintiff’s claim for slander of title. Defendant argues

that Plaintiff has failed to establish special damages, a necessary element of a slander of title

action. For the reasons discussed below, the Court will grant the Motion in part and deny it in

part.




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                             I. SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate “if the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact

and that the movant is entitled to a judgment as a matter of law.”1 In considering whether

genuine issues of material fact exist, the Court determines whether a reasonable jury could return

a verdict for the nonmoving party in the face of all the evidence presented.2 The Court is

required to construe all facts and reasonable inferences in the light most favorable to the

nonmoving party.3

                                 II. FACTUAL BACKGROUND

       Simply stated, Plaintiff’s slander of title claim is as follows. Plaintiff claims that it is the

rightful owner of the UNIX and UnixWare copyrights under the terms of the Asset Purchase

Agreement and various Amendments thereto. Defendant, in response, has disputed Plaintiff’s

claims of ownership and has publicly claimed that it, not Plaintiff, is the true owner of the

copyrights in question. Defendant’s claim of ownership and statements refuting Plaintiff’s claim

of ownership are the slanderous statements alleged by Plaintiff.

       Plaintiff argues that they have lost sales because of Defendant’s alleged slanderous

statements. Plaintiff’s claims of lost sales revolve around its SCOSource Initiative. Under the

SCOSource Initiative, Plaintiff sought to offer licenses to those it believed were infringing on its



       1
           Fed.R.Civ.P. 56(c).
       2
       See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986); Clifton v. Craig, 924
F.2d 182, 183 (10th Cir. 1991).
       3
        See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986);
Wright v. Southwestern Bell Tel. Co., 925 F.2d 1288, 1292 (10th Cir. 1991).

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intellectual property rights.4 Plaintiff claims that Defendant’s alleged slanderous statements

concerning the ownership of the copyrights caused the SCOSource Initiative to fail. Specifically,

Plaintiff asserts that it was unable to enter into licensing agreements with various companies

because those companies refused to enter into licensing agreements as a result of the ownership

dispute.5 Plaintiff further argues that it was forced to accept lower prices from those who did

enter into agreements.

       The majority of the evidence supporting Plaintiff’s argument on this point comes from

the statements of those that were involved in the development and implementation of the

SCOSource Initiative.

       SCO Vice President of Marketing Jeff Hunsaker testified that Novell’s claims of

ownership of the copyrights impacted the SCOsource business. Mr. Hunsaker testified that,

because of Novell’s claims, “the SCOsource licensing opportunities were killed, were negated

before they even really got off the ground.”6 Mr. Hunsaker further testified:

       We put together the SCOsource licensing agreement, and that gave us the
       opportunity to go after new customers, anyone that uses Linux, and that’s a huge
       marketplace, to sell them that license. We had buyers, we had pipelines. And
       then Novell, based on their timing and everything else, came out and said, “Sorry,
       we own it.” Then, “We don’t own it,” and then, “We do own it.” And so


       4
           See James Decl. Ex. 47 (letter from SCO to Linux users).
       5
         Docket No. 96 at ¶ 10 (“Novell’s false and misleading representations that it owns the
copyrights have directly caused and continue to cause significant irreparable harm to SCO’s
valuable UNIX and UnixWare copyrights, its business, and its reputation, and has caused third
parties to refuse to enter into license agreements with SCO relating to SCO’s UNIX and
UnixWare business.”); id. at ¶ 39(b) (“Potential customers have informed SCO that they will not
enter into agreements to license SCO’s UNIX technologies because of the cloud surrounding
SCO’s ownership of UNIX created by Novell’s false public representations that it, and not SCO,
owns UNIX.”).
       6
           Brakebill Decl. Ex. 31 at 151:19-21.

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        everyone that we dealt with said, “Sorry, guys. We’re not interested in talking until you
       get your act together and figure this out with Novell.”7

       Mr. Hunsaker specifically mentioned that, because of Novell’s statements, Google, the

Pentagon, and HP stated “‘Until you can resolve this, we are not interested in moving forward

with any SCOsource licensing.’”8 Mr. Hunsaker also testified about the frustrations that Larry

Gasparro, an SCOSource salesperson, was having: “he was frustrated with the claims that Novell

was making and how it impacted our business and opportunities, which were formidable for

SCOsource licenses, with some very large customers that were shot dead.”9

       Chris Sontag, head of the SCOSource division, testified:

               [I]t started to become apparent in late 2003, early 2004, that we were
       getting highly impacted by Novell’s statements that people could easily use as an
       excuse, the question on copyright ownership, as a reason why they would not
       need to take what I consider an insurance policy on IP protection.
               So that cloud that was created substantially impacted our licensing
       opportunity and I believe ultimately, by this time frame, was substantially
       impacting even the placeholder numbers or forecasted, you know, limited
       forecasting numbers that were put in to future budgets.10

       Mr. Sontag was asked if he believed “that SCOsource initiatives would have led to more

revenues if not for Novell’s statements about copyrights?”11 To which he responded:

“Absolutely.” Sontag further testified:



       7
           Id. at 162:17-163:2.
       8
       Id. at 206:4-14; see also id. at 229:8-13 (stating that Google, the Pentagon, and Hewlett
Packard were companies that cited Novell as a reason for declining a license); see id. at 230:3-
231:3.
       9
           James Decl. Ex. 62 at 232:4-8.
       10
            Id. Ex. 60 at 115:9-21.
       11
            Id. at 116:9-12.

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       In discussion with potential licensees that I either had directly or for which I
       received copies of correspondence or write-ups of the discussion that occurred
       with other people such as the SCOsource sales people, I was aware of a number of
       situations and times where the person was right in front of me saying, “Well,
       there’s questions about who even owns the copyrights so therefore I don’t feel
       like I need to take a license for your SCO UNIX intellectual property or the right
       to use a license until that’s resolved.” And I would do my best to try and explain
       that I thought it was a baseless set of statements on the part of Novell. But in may
       cases, people I talked to would say, “Well, until its resolved, I’m still not going to
       act upon this.”12

       When asked to identify specific companies that identified the copyright dispute as a

reason for not entering into a license agreement, Mr. Sontag was able to identify Morgan Stanley

or another Wall Street firm and Google.13

       In his declaration, Mr. Sontag describes his negotiations with Hewlett Packard for a

SCOSource license.14 Mr. Sontag stated that those negotiations were fruitful and that SCO and

HP were near a deal, but that negotiations began to fall apart in the fall of 2003.15 Mr. Sontag

states that “HP began mentioning Novell’s claims, and the problems those claims created for the

deal.”16 Sontag further states that “[t]his retrenchment by HP coincided precisely with the time

period in which I began to hear from other companies Novell was directly relaying to them its

claim that SCO did not own the UNIX copyrights.”17




       12
            Id. at 117:9-23.
       13
            Id. at 119:18-120:7.
       14
            Id. Ex. 80 at ¶¶ 8-15.
       15
            Id.
       16
            Id. at ¶ 14.
       17
            Id.

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       SCO CEO Darl McBride also testified in his deposition concerning the impact of

Defendant’s statements on the SCOSource Initiative.18 As discussed in more detail below in

relation to his declaration, Mr. McBride testified that HP cited the copyright issue as an issue

which prevented HP from entering into a license.19 Mr. McBride also testified that there were

other instances in which the dispute over the ownership of the copyrights affected SCO’s ability

to enter into SCOSource Licenses. Mr. McBride stated that “there were a number of customers

that came back and cited as problematic the Novell copyright issue.”20 McBride specifically

cited Google as an example.21 Mr. McBride also stated that an investment bank (either Morgan

Stanley, Lehman Brothers, or Merrill Lynch), the Pentagon, Wyndham Hotels, Regal

Entertainment, and Just U.S.A. Sports as companies that cited the copyright dispute as an issue.22

Mr. McBride further stated “that the Novell claims were what eventually got us to just shutter up

the SCOsource licensing division for a number of years.”23

       In his Declaration, Mr. McBride discusses the negotiations between SCO and Dell for a

SCOSource license.24 Mr. McBride states that Dell’s general counsel “expressed concern over




       18
            Brakebill Decl. Ex. 63; James Decl. Ex. 61.
       19
            Brakebill Decl. Ex. 63 at 130-34.
       20
            Id. at 135:10-11.
       21
            Id. at 135:20-136:4.
       22
            Id. at 137:2-19.
       23
            Id. at 219:16-18.
       24
            James Decl. Ex. 81 at ¶ 9.

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Novell’s ongoing claim that SCO did not own the UNIX copyrights. Their interest in the deal

precipitously declined and the deal fell apart shortly thereafter.”25

       SCO General Counsel Ryan Tibbits testified that when SCO was working on the

SCOSource program, “the Novell copyright dispute was continually thrown back in our face.”26

Mr. Tibbits testified that, in meetings with the Department of Defense, it was indicated that they

would have taken a license if not for Novell’s actions.27 Instead, they stated “‘As soon as

you—the issues are cleared up, come and see me and I’ll have to do a deal with you.’”28 Mr.

Tibbits further identified a New Mexico power utility as an entity that refused a license in part

because of the copyright ownership issues.29 Mr. Tibbits identified Cisco as another company

that identified the ownership of the copyrights as an issue.30 Mr. Tibbits also identified Google

as a company that expressed concern over the copyright dispute.31

       SCOSource salesperson Larry Gasparro testified that SCO’s licensing program was

“dramatically” affected by Novell’s claim of ownership of the copyrights.32




       25
            Id.
       26
            Id. Ex. 59 at 113:1-2.
       27
            Id. Ex. 63 at 20:18-22.
       28
            Id. at 20:22-24.
       29
            Id. at 26:7-24.
       30
            Id. at 32:12-33:3.
       31
            Id. at 37:15-20.
       32
            Id. Ex. 56 at 330:5-7.

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       SCOSource salesperson Phil Langer testified that Novell’s statements questioning SCO’s

ownership of the copyrights negatively impacted his ability to sell licenses.33 Mr. Langer

testified that “all the licensees, potential licensees became very interested in, well, if you don’t

own it, we’re not going to by a license from you, which really, you know, put a hold on selling

licenses.”34 When asked if he was unable to sell licences because of Novell’s statements, Mr.

Langer responded: “Yes. I mean, it put a pretty big dampening effect on how we were able to

approach people when the intellectual property you’re trying to license to them is in question of

ownership.”35 Mr. Langer testified bluntly that “[o]nce the questioning of the ownership came

out, the pipeline was killed.”36 Mr. Langer testified, specifically, that Regal Entertainment

Group, cited the dispute of ownership of the copyrights as a reason not to seek a license, stating

that “we can’t buy your intellectual property because there’s not clear title on it.”37

       Gregory Pettit, SCO’s regional director of intellectual property licensing, testified that

Novell’s claims of ownership made it difficult to enter into licenses with Raytheon and other

companies.38 Mr. Pettit identified the questions raised by Novell as causing “great difficulty, if

not impossibility, in selling any licenses[.]”39



       33
            Id. Ex. 58 at 127:6-9.
       34
            Id. at 135:18-21.
       35
            Id. at 136:1-4.
       36
            Id. at 137:14-15.
       37
            Id. at 140:16-141:6.
       38
            Id. Ex. 57 at 167:12-15.
       39
            Id. at 167:21-25.

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       The parties have both submitted numerous letters sent by various companies to SCO in

response to the SCOSource Initiative. Those letters provide some support for those statements

made by those involved with the SCOSource Initiative.40 Many of those letters mention the

ongoing dispute between SCO and Novell concerning the ownership of the UNIX and UnixWare

copyrights. Though, as Defendant points out, many of those letters also leave open the

possibility of further discussion once the dispute between the parties is resolved.

       Plaintiff has also submitted declarations from two experts: Gary Pisano and Christine

Botosan. In his Declaration, Professor Pisano concludes

       that Novell’s conduct had a substantial impact on SCO’s ability to sell the
       SCOsource Intellectual Property License for Linux (also known as a “right to use”
       or “RTU” license). It is my opinion that, but for Novell’s actions, SCO would
       have been able to sell significantly more SCOsource RTU licenses to the relevant
       Linux market than it was able to sell after Novell’s statements.41

       Professor Pisano also opines

       that even a court’s determination that SCO owns the UNIX copyrights probably
       would not restore SCO to the position they were in before Novell’s statements.
       As a practical matter, SCO’s ability to sell SCOsource licenses in the future is
       highly uncertain. Nearly four years have passed since Novell’s first attack on
       SCO’s copyright ownership, and technology markets change rapidly. Based on
       my expertise in high technology industries, and my research and analysis in this
       case, I have no reason to believe that a court decision vindicating SCO’s
       ownership rights would allow SCO simply to recover its losses through
       SCOsource sales at this time.42

       In her Declaration, Professor Botosan states:

       I estimate the financial impact of Novell’s statements by using SCO’s financial
       records and internal projections, as well as several external analyst forecasts, to


       40
            See Brakebill Decl. Exs. 48-53; James Decl. Exs. 48, 49, 86, 88.
       41
            James Decl. Ex. 71, ¶ 6.
       42
            Id. at ¶ 11.

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        calculate the projected revenue from SCOsource vendor licenses and SCOsource
        right to use licenses. In order to calculate SCO’s damages, I compare the
        projected SCOsource revenue to the actual revenue realized by SCO over the
        relevant time period, and then deduct incremental expenses to arrive at SCO’s lost
        profits. I have also relied upon the opinions of Professor Gary Pisano who has
        studied the expected demand for SCOsource products had Novell’s slander of title
        not occurred. My forthcoming report will provide the details of my analysis in
        support of my opinion that SCO’s damages resulting from the slander of title by
        Novell exceed $100 million.43

        Another potential source of special damages are attorney’s fees associated with removing

the cloud on the title. In connection with this, Plaintiff has submitted the Declaration of Paul T.

Moxley. Mr. Moxley provides the following opinions:

        a.         Substantial amounts of the work performed to date by SCO’s attorneys
                   was necessary in order to eliminate the “cloud” on the title and undo the
                   harm caused by Novell’s false assertions.
        b.         SCO has also incurred substantial legal fees and costs which were
                   necessary to defend against Novell’s counterclaim for slander of title.
        c.         Substantial costs and expenses were incurred by SCO to obtain expert
                   opinions with respect to damages suffered, which are necessary to undo
                   the harm caused by the slander.
        d.         To the extent some of the fees, costs and expenses are related either to
                   other claims pursued by SCO or to the defense of other counterclaims
                   asserted by Novell, those amounts may be apportioned and segregated
                   from the amounts billed. That work is ongoing and my final analysis will
                   be included in my expert report.44

                                          III. DISCUSSION

        Defendant makes four arguments in its Motion for Summary Judgment. First, Defendant

argues that Plaintiff’s allegations that the SCOSource Initiative was harmed by Defendant’s

actions fails because Plaintiff cannot establish that Defendant was the cause of the failure.

Defendant further argues that, if Plaintiff prevails, it will be able to pursue its claim to royalties.



        43
             Id. Ex. 87 at ¶ 6.
        44
             Id. Ex. 72 at ¶ 8.

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Second, Defendant argues that Plaintiff’s argument concerning a diminution in stock price is not

a form of special damages. Third, Defendant argues that Plaintiff’s claim for attorney’s fees as a

form of special damages must be rejected. Fourth, Defendant argues that Plaintiff has not

produced evidence of any pecuniary loss based on its efforts to research and pursue copyright

registration.

         “To prove slander of title, a claimant must prove that (1) there was a publication of a

slanderous statement disparaging claimant's title, (2) the statement was false, (3) the statement

was made with malice, and (4) the statement caused actual or special damages.”45

         A slander of title action requires proof of actual or special damages, presumed or general

damages are insufficient.46

         The special damage rule requires the plaintiff to establish pecuniary loss that has
         been realized or liquidated, as in the case of specific lost sales. This means that
         general, implied or presumed damages of the kind formerly available in cases of
         personal defamation are not sufficient as a ground for recovery in a disparagement
         claim.47

“Special damages are ordinarily proved in a slander of title action by evidence of a lost sale or

the loss of some other pecuniary advantage. Absent a specific monetary loss flowing from a

slander affecting the saleability or use of the property, there is no damage.”48 “It is not sufficient




         45
              First Sec. Bank of Utah, N.A. v. Banberry Crossing, 780 P.2d 1253, 1256-57 (Utah
1989).
         46
              Id. at 1257.
         47
              Id. (quoting W. Keeton, Prosser and Keeton on the Law of Torts, at 971 (5th ed.1984)).
         48
              Bass v. Planned Mgmt. Servs., Inc., 761 P.2d 566, 568 (Utah 1988).

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to show that the [property’s] value has dropped on the market, as this is general damage, not a

realized or liquidated loss.”49

A.      LOST SALES

        Both parties agree that lost sales constitute special damages. The disagreement here is

whether Plaintiff has presented sufficient evidence of lost sales and whether Defendant’s actions

were the “direct and immediate” cause of those lost sales and whether those lost sales alleged by

Plaintiff are “realized and liquidated.”

        Based on the evidence set forth above, the Court finds that Plaintiff has presented

sufficient evidence of lost sales to survive summary judgment. The Court further finds that there

are genuine issues of material fact as to whether Defendant’s actions were the “direct and

immediate” cause and whether those lost sales are “realized and liquidated.” Therefore, the

Court must deny Defendant’s Motion as it relates to lost sales.

B.      STOCK PRICE

        Defendant argues that Plaintiff’s claim that Defendant’s actions resulted in a diminution

of its stock price is not an appropriate claim for special damages. Plaintiff states that it is not

seeking the decline in its stock price as damages. The Court agrees that decline in stock price is

not an appropriate claim for special damages.50 Therefore, to the extent that Plaintiff is seeking

to recover its decline in stock price as a form of special damages, Defendant’s Motion will be

granted.




        49
             Valley Colour, Inc. v. Beuchert Builders, Inc., 944 P.2d 361, 364 (Utah 1997).
        50
        See Computerized Thermal Imaging, Inc. v. Bloomberg, L.P., 2001 WL 670927, *3-4
(D. Utah 2001), aff’d, 312 F.3d 1292 (10th Cir. 2002).

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C.      ATTORNEY’S FEES AND COSTS

        Under Utah law, attorney fees are “recoverable as special damages if incurred to remove

a cloud placed by the defendant on the title.”51 However, when “attorney fees were not incurred

to clear title or to undo any harm created by whatever slander of title occurred, there [are] no

special damages.”52 Defendant argues that Plaintiff’s attorney’s fees in pursuing this slander of

title action are not recoverable. Plaintiff argues that, although this is a slander of title action

rather than a quiet title action, “[t]he present action is the vehicle by which SCO’s title will be

cleared.”53

        The Supreme Judicial Court of Maine succinctly stated the majority rule as follows:

        We adopt the majority position that attorney fees incurred in removal of a cloud
        on a title caused by a spurious and vexatious deed do constitute proof of special
        damages in a slander of title action even in the absence of proof of an impairment
        of vendibility. In doing so, however, we emphasize that the costs of litigation and
        attorney fees in the action for slander of title itself cannot constitute the required
        special damages. The prevailing party in a slander of title action may recover as
        special damages those attorney fees and expenses incurred to remove the cloud on
        the title but not those incurred to prosecute the slander of title action.54

        In the instant action, there are two sets of attorney’s fees: those associated with removing

the alleged cloud on the title of the copyrights and those associated with bringing the action for

slander of title. As set forth above, the Declaration of Paul T. Moxley states as follows:

        a.         Substantial amounts of the work performed to date by SCO’s attorneys
                   was necessary in order to eliminate the “cloud” on the title and undo the
                   harm caused by Novell’s false assertions.


        51
             Bass, 761 P.2d at 569.
        52
             Id.
        53
             Docket No. 307 at 39.
        54
             Colquhoun v. Webber, 684 A.2d 405, 411 (Me. 1996) (citations omitted).

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       b.         SCO has also incurred substantial legal fees and costs which were
                  necessary to defend against Novell’s counterclaim for slander of title.
       c.         Substantial costs and expenses were incurred by SCO to obtain expert
                  opinions with respect to damages suffered, which are necessary to undo
                  the harm caused by the slander.
       d.         To the extent some of the fees, costs and expenses are related either to
                  other claims pursued by SCO or to the defense of other counterclaims
                  asserted by Novell, those amounts may be apportioned and segregated
                  from the amounts billed. That work is ongoing and my final analysis will
                  be included in my expert report.55

       To the extent that Plaintiff can segregate and identify those attorney’s fees associated

with removing the cloud placed on the title of the copyrights, those fees would be considered

special damages. However, those amounts that were not associated with removing the cloud

placed on the title would not.

       Defendant argues that courts refuse to award attorney’s fees as special damages in cases

where the claim to settle ownership and the slander of title claim are brought in the same case.

Defendant’s argument is without merit. For example, in Colquhoun v. Webber, a case cited by

Defendant, the plaintiffs had brought an action raising, among other claims, claims for both quiet

title/declaratory judgment and slander of title.56 The trial court granted plaintiffs summary

judgment and awarded special damages in the amount associated with the slander of title claim.57

The court on appeal reversed the damage award.58 The court found that the costs associated with

the action for slander of title did not constitute special damages.59 Rather, the court held that “the


       55
            James Decl. Ex. 72 at ¶ 8.
       56
            Colquhoun, 684 A.2d at 408.
       57
            Id. at 413
       58
            Id.
       59
            Id.

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prevailing party in a slander of title action may recover as special damages those attorneys fees

and expenses accruing from removing the cloud on the title.”60 The trial court had awarded

special damages based on the cost of prosecuting the slander of title action.61 The court

emphasized that “[i]t is the costs of prosecution of the counts which cleared the Colquhouns’

title, i.e. the quiet title counts and the declaratory judgment count which are appropriately

characterized as “special damages” and for which Webber should bear liability.”62 The court

vacated the damage award and remanded for a redetermination.63

       Colquhoun shows that courts do, in fact, allow for recovery of special damages in cases

involving both slander of title and claims to settle the issue of ownership. This is the situation

before the Court. Here, both the issue of ownership of title and slander of title will be decided in

this action. Therefore, those attorney’s fees and costs associated with removing the cloud from

the title are appropriately considered and may be recoverable as special damages.

       The cases relied upon by Defendant are inapposite. C.P. Interests, Inc. v. California

Pools, Inc.,64 applies Texas law, which provides “that attorneys fees are not considered a form of

pecuniary loss and do not constitute special damages.”65 This is clearly not the law in Utah. Lee




       60
            Id.
       61
            Id.
       62
            Id.
       63
            Id.
       64
            238 F.3d 690 (5th Cir. 2001).
       65
            Id. at 695.

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v. Washington Square Homeowners’ Ass’n, Inc.,66 applying Georgia law, also takes a position

inconsistent with Utah law by stating that “[c]osts of litigation and attorney fees arising from

slander of title do not constitute . . . special damages.”67 Hicks v. McLain’s Bldg. Materials,

Inc.,68 also applies Georgia law which is inconsistent with Utah law.69 In Sannerud v. Brantz,70

the court found that there was insufficient evidence to support a claim in a defamation of title

action and noting that the Wyoming Supreme Court had suggested that attorney’s fees were not

recoverable in a defamation of title action.71 This is not a defamation of title claim.

D.       RESEARCHING COPYRIGHT REGISTRATIONS

         Defendant’s final argument is that Plaintiff has not produced evidence that it has incurred

attorney’s fees in researching and reviewing the copyright registrations. Plaintiff has not

responded to this argument and it is, therefore, waived. Defendant’s Motion will be granted to

the extent that Plaintiff is seeking special damages related to the researching and reviewing

copyrights that are not associated with those attorney’s fees and costs allowable, as set forth

above.




         66
              615 S.E.2d 210 (Ga. Ct. App. 2005).
         67
              Id. at 214.
         68
              433 S.E.2d 114 (Ga. Ct. App. 1993).
         69
              Id. at 116.
         70
              879 P.2d 341 (Wyo. 1994).
         71
              Id. at 345.

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                                   IV. CONCLUSION

      It is therefore

      ORDERED that Novell’s Motion for Summary Judgment on SCO’s First Claim for

Slander of Title Based on Failure to Establish Special Damages (Docket No. 277) is GRANTED

IN PART AND DENIED IN PART as set forth above. The hearing set for February 4, 2010, is

STRICKEN.

      DATED January 28, 2010.

                                         BY THE COURT:


                                         _____________________________________
                                         TED STEWART
                                         United States District Judge




                                            17
